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                                         IN THE UNITED STATES DISTRICT COURT
                                                FOR THE DISTRICT OF MINNESOTA

                                                         CIVIL JURY TRIAL
Katie J. Felder, as trustee for the next of kin                                        COURT MINUTES
of Dominic Aries Felder                                                        Case Number: 07-4929(DSD/JJK)
                          Plaintiff,
  v.                                                                  Date:                October 18, 2010
                                                                      Court Reporter:      Lorilee Fink
Jason King, individually, et al.                                      Time:                8:50 a.m.-1:10 p.m.
                        Defendants.                                                        2:00 p.m.-4:35 p.m.
                                                                      Time in Court:       6 Hours & 35 Minutes

Trial before David S. Doty, United States District Judge, at Minneapolis, Minnesota.

APPEARANCES:

   For Plaintiff:                     James Behrenbrinker & Douglas Micko
   For Defendant:                     Timothy Skarda & Sara Lathrop

PROCEEDINGS:

   :       Jury selection and jury impaneled.
   :       JURY Trial - Began.
   :       Opening statements by James Behrenbrinker for plaintiff and Sara Lathrop for defendants.
   :       Plaintiff’s witnesses: Tiana Wilson.
   :       Trial continued to 10/19/2010 at 9:00 a.m.

CLERK'S USE ONLY:

   9 Number of trial days with evidence - .
   9 Exhibits returned to counsel or parties.
                                                                                                            s/C.B.
                                                                                                           Calendar Clerk




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